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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO    "''.'9              A:;~   19 A:i [,: 04
                                 WESTERN DIVISION

 Ahmad Saqr, et al.,

                Plaintiffs,                             Case No. 1:18-cv-542

 v.                                                     Judge Dlott

 University of Cincinnati, et al.,                      Magistrate Judge Bowman

                Defendants.


        STIPULATED PROTECTIVE ORDER AND ORDER FOR RELEASE OF
      DISCOVERABLE MATERIALS OTHERWISE COVERED BY THE PRIVACY
      ACT, FAMILY EDUCATIONAL RIGHTS AND PRIVACY ACT, AND HEALTH
             INSURANCE PORTABILITY AND ACCOUNTABILITY ACT


        The parties expect the disclosure of documents in this case to involve the exchange of

 sensitive information, including, inter alia, medical information, personally identifying

 information with respect to students or employees, education records, and other information that

 may be covered by the Health Insurance Portability and Accountability Act (HIP AA), Family

 Educational Rights and Privacy Act (FERPA), 20 U.S.C. § 1232g, 34 C.F.R. Part 99, or other

 federal or state law. In order to permit discovery, the parties stipulate and agree to, and the

 Court finds good cause for, entry of a Protective Order and Order for Release of discoverable

 materials otherwise protected by HIP AA, FERPA or other law pursuant to Federal Rule of Civil

 Procedure 26(c).

        It is hereby ordered that:

        1.   - Scope.    All documents produced in the course of discovery, including initial

 disclosures, all responses to discovery requests, all deposition testimony and exhibits, other

 materials which may be subject to restrictions on disclosure for good cause and information
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 derived directly therefrom (hereinafter collectively "documents"), shall be subject to this Order

 concerning confidential information as set forth below. The Order is also subject to the Local

Rules of this District and the Federal Rules of Civil Procedure on matters of procedure and

calculation of time periods.

        2.     Form and Timing of Designation.            A party may designate documents as

 confidential and restricted from disclosure under this Order by placing or affixing the words

"CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" on the document in a manner that

will not interfere with the legibility of the document and that will permit complete removal of the

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER designation. Documents shall be

designated CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER prior to or at the time of

the production or disclosure of the documents. Inadvertent failure to designate a document as

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER may be corrected by supplemental

written notice given as soon as practicable. The designation "CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER" does not mean that the document has any status or protection by statute

or otherwise except to the extent and for the purposes of this Order.

        3.     Documents Which May be Designated CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER.              Any party may designate documents as CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER upon making a good faith determination that the

documents contain information protected from disclosure by statute or that should be protected

from disclosure as confidential personal information, medical or psychiatric information, trade

secrets, personnel records, education records, or such other sensitive information that is not

publicly available. Public records and other information or documents that are publicly available

may not be designated as CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER. If non-


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 confidential information is contained in or otherwise derived from confidential materials, any

 portion that consists solely of non-confidential information shall not be confidential for purposes

 of this Order.

         4.       Depositions.   Deposition testimony shall be deemed CONFIDENTIAL -

 SUBJECT TO PROTECTIVE ORDER only if designated as such. Such designation shall be

 specific as to the portions of the transcript or any exhibit to be designated as CONFIDENTIAL -

 SUBJECT TO PROTECTIVE ORDER.                  Counsel for any party in this case may designate

 deposition testimony or any portion of deposition testimony as confidential by advising the court

 reporter and counsel of such designation during the course of the deposition. Thereafter, the

 deposition transcripts and any of those portions so designated shall be protected as

 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER, pending objection, under the terms

 of this Order.

        5.        Medical Information. The parties shall treat as confidential any information

 related to the medical condition, history and/or treatment of any person identified by the parties

 as having information relevant to this litigation, regardless of the method by which such

 information was obtained and regardless of whether such information has been disclosed in any

 manner prior to the date of this Order. Without limiting the foregoing, any of the parties'

 discovery requests or responses that reference, contain, or attach information or documents

 related to such medical condition, history and/or treatment are hereby designated as confidential

 and subject to the provisions of this Order. The fact that such information is not marked as

 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or that it was received by a third

party or disclosed prior to the entry of this Protective Order shall not alter the parties' obligations

 under this paragraph.


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       6.     Protection of Confidential Material.

              a.      General Protections.          Documents designated CONFIDENTIAL -

       SUBJECT TO PROTECTIVE ORDER under this Order shall not be used or disclosed by

       the parties, counsel for the parties or any other persons identified in      if   6(b) for any

       purpose whatsoever other than to prepare for and to conduct discovery and trial in this

       action including any appeals.

              b.      Limited Third-Party Disclosures. The parties and counsel for the parties

       shall not disclose or permit the disclosure of any CONFIDENTIAL - SUBJECT TO

       PROTECTIVE ORDER documents to any third person or entity except as set forth in

       subparagraphs (i)-(vii).   Subject to these requirements, the following categories of

       persons may be allowed to            review    documents    that have been designated

       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER:

                      i.     Counsel. Counsel for the parties and employees and agents of

              counsel who have responsibility for the preparation and trial of the action;

                      ii.    Parties. Parties and employees of a party to this Order;

                      iii.   Court Reporters and Recorders. Court reporters and recorders

              engaged for depositions;

                      iv.    Mediators.     Any mediator used to attempt resolution of this

              litigation;

                      v.     Witnesses. Witnesses or potential witnesses (and their counsel) in

              preparation for or during the course of depositions, hearings, interviews, or trial in

              this action, but only if permitted by HIPAA, FERPA or other law. In addition,

              such persons shall, in advance of disclosure, complete the certification contained


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                m Attachment A, Acknowledgment of Understanding and Agreement to Be

                Bound;

                         vi.    Designated Experts. Designated experts (hereinafter referred to

                collectively as "experts") employed by the parties or counsel for the parties to

                assist in the preparation and trial of this action or proceeding, but only after such

                persons have completed the certification contained              in Attachment A,

                Acknowledgment of Understanding and Agreement to Be Bound; and

                         vii.   Others by Consent. Other persons only by written consent of the

                producing party or upon order of the Court and on such conditions as may be

                agreed or ordered. All such persons shall execute the certification contained in

                Attachment A, Acknowledgment of Understanding and Agreement to Be Bound.

                c.       Control of Documents. Counsel for the parties shall take reasonable and

       appropriate measures to prevent unauthorized disclosure of documents designated as

       CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER pursuant to the terms of this

       Order.        Counsel shall maintain the originals of the forms signed by persons

       acknowledging their obligations under this Order for a period of one (1) year after

       dismissal of the action, the entry of final judgment and/or the conclusion of any appeals

       arising therefrom.

                d.       Copies. Prior to production to another party, all copies, electronic images,

       duplicates, extracts, summaries or descriptions (hereinafter referred to collectively as

       "copies") of documents designated as CONFIDENTIAL - SUBJECT TO PROTECTIVE

       ORDER under this Order, or any individual portion of such a document, shall be affixed

       with the designation "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" if the


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       words do not already appear on the copy. All such copies shall thereafter be entitled to

       the protection of this Order.

               e.        Inadvertent Production.     Inadvertent production of any document or

       information without a designation of "CONFIDENTIAL - SUBJECT TO PROTECTIVE

       ORDER" shall be governed by Federal Rule of Evidence 502.

       7.      Filing of CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

Documents Under Seal.          To the extent that a brief, memorandum, pleading, or other court

filing references any document marked as CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER, then the brief, memorandum, pleading, or other court filing shall refer the Court to the
                                  .                                                     .
particular document filed under seal without disclosing the contents of any confidential

information.

               a.        Before any document marked "CONFIDENTIAL - SUBJECT TO

       PROTECTIVE ORDER" is filed under seal with the Clerk, the filing party shall first

       consult with the party that originally designated the document as CONFIDENTIAL -

       SUBJECT TO PROTECTIVE ORDER to determine whether, with the consent of that

       party, the document or a redacted version of the document may be filed with the Court

       not under seal.

               b.        Where agreement is not possible or adequate, a CONFIDENTIAL -

       SUBJECT TO PROTECTIVE ORDER document shall be filed in accordance with Local

       Rule 5.2.1 (Sealed Documents) of the United States District Court for the Southern

       District of Ohio and any other procedures set forth in the presiding judge's standing

       orders or other relevant orders. See Shane Group, Inc. v. Blue Cross Blue Shield of

       Michigan, 825 F.3d 299 (6th Cir. 2016).


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                c.     To the extent that it is necessary for a party to discuss the contents of any

        confidential information in a document filed with the Court, then such portion of the

        document may be filed under seal with leave of Court. In such circumstances, counsel

        shall prepare two versions of the document, a public and a confidential version. The

        public version shall contain a redaction of references to CONFIDENTIAL - SUBJECT

        TO PROTECTIVE ORDER documents. The confidential version shall be a full and

        complete version of the document and shall be filed under seal in accordance with Local

        Rule 5.2.1 (Sealed Documents) of the United States District Court for the Southern

        District of Ohio and any other procedures set forth in the presiding judge' s standing

        orders or other relevant orders.

        8.      Challenges by a Party to Designation as Confidential. Any CONFIDENTIAL

- SUBJECT TO PROTECTNE ORDER designation is subject to challenge by any party or

 nonparty with standing to object (hereafter "party"). Before filing any motions or objections to a

 confidentiality designation with the Court, the objecting party shall have an obligation to meet

 and confer in a good faith effort to resolve the objection by agreement. The parties shall meet and

 confer within twenty (20) business days of receipt of the objection. If agreement is reached

 confirming or waiving the CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

 designation as to any documents subject to the objection, the designating party shall serve on all

parties a notice specifying the documents and the nature of the agreement.

        9.      Action by the Court. Any party to the above-captioned case may petition this

 Court concerning a violation of this Order and request any available remedies, including, but not

 limited to, contempt proceedings.         Applications to the Court for an order relating to any

 documents designated CONFIDENTIAL - SUBJECT TO PROTECTNE ORDER shall be by


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motion under Local Rule 7.2 and any other procedures set forth in the presiding judge's standing

orders or other relevant orders. Nothing in this Order or any action or agreement of a party

under this Order limits the Court's power to make any orders that may be appropriate with

respect to the use and disclosure of any documents produced or used in discovery or at trial.

             10.    Use of Confidential Documents or Information at Trial. All trials are open to

the public. Absent order of the Court, there will be no restrictions on the use of any document

that may be introduced by any party during the trial. If a party intends to present at trial

CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER documents or information derived

therefrom, such party shall provide advance notice to the other party at least five (5) days before

the commencement of trial by identifying the documents or information at issue as specifically as

possible (i.e., by Bates number, page range, deposition transcript lines, etc.). The Court may

thereafter make such orders as are necessary to govern the use of such documents or information

 at trial.

             11.    Information Made Public or Received from a Third Party. Notwithstanding

 anything to the contrary herein, the parties to the above captioned case shall have no obligation

under this Order with respect to information that:

                    a.      Is or becomes publicly available (except as by unauthorized disclosure);

             or

                    b.      Is received from a third-party who is rightfully in possession of such

             information and who has the right to disclose it.




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       12.       Obligations on Conclusion of Litigation.

                 a.     Order Remains in Effect. Unless otherwise agreed or ordered, this Order

       shall remain in force after dismissal or entry of final judgment not subject to further

       appeal.

                 b.    Return or Destruction of CONFIDENTIAL - SUBJECT TO

       PROTECTIVE ORDER Documents. Within thirty (30) days after dismissal or entry of

       final judgment not subject to further appeal, all documents treated as CONFIDENTIAL -

       SUBJECT TO PROTECTIVE ORDER under this Order, including copies as defined               in~


       6(d), shall be returned to the producing party or the producing party' s counsel or

       representative or destroyed, unless: (1) otherwise ordered by the Court for good cause

       shown, (2) the return or destruction of such materials is prohibited by law, or (3) the

       document has been offered into evidence or filed without restriction as to disclosure

                 c.    Return of Documents Filed under Seal. After dismissal or entry of final

       judgment not subject to further appeal, the Clerk may elect to return to counsel for the

       party who originally produced the documents filed under seal or, after notice, destroy

       documents filed or offered at trial under seal or otherwise restricted by the Court as to

       disclosure.

       13.       Order Subject to Modification. This Order shall be subject to modification by

the Court on its own motion or on motion of a party or any other person with standing

concerning the subject matter. Motions to modify this Order shall be served and filed under

Local Rule 7.1 , 7.2 and the presiding judge' s standing orders or other relevant orders.

       14.       No Prior Judicial Determination.          This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.


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 Nothing herein shall be construed or presented as a judicial determination that any documents or

 information designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER by counsel

 or the parties is subject to protection under Rule 26(c) of the Federal Rules of Civil Procedure or

 otherwise until such time as the Court may rule on a specific document or issue.

          15.      No Superseded Laws. This Order in no way alters or supersedes the parties'

 responsibilities under this Court' s Electronic Filing Policies and Procedures, or any other

 applicable confidentiality laws, rules or regulations.

          16.      Persons Bound. This Order shall take effect when entered and shall be binding

 upon all counsel and their law firms, the parties, and persons made subject to this Order by its

 terms.

          17.      Further Limits of this Order. Entering into, agreeing to, and/or complying with

 the terms of this Order shall not:

                   a.     Prejudice in any way the rights of any party to object to the production of

          documents or information it considers non-discoverable, or to seek a Court

          determination whether particular discovery materials should be produced;

                   b.     Prejudice a party from seeking modification or rescission of this Protective

          Order;

                   c.     Prejudice a party from seeking further protection of any confidential

          information; or

                   d.     Prevent a party from objecting on any ground to the admission into

          evidence, at any trial, hearing, or public proceeding in this matter, of any type or

          classification of information produced or disclosed pursuant to this Order.




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        18.      Nothing in this Order shall prevent non-parties from asserting their own privacy

 rights in documents held by the parties, including but not limited to those rights provided by

 FERP A, nor shall this Order prevent Defendants from fulfilling the obligations and

 responsibilities regarding student privacy placed on them by FERPA.

        IT IS HEREBY ORDERED.

        Dated:   ~~~T
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                    f ----t
                          f~~~~




 WE SO STIPULATE and agree to abide by the terms of this Order

 s/ Matthew Miller-Novak per 4115119 email authorization

 MATTHEW MILLER-NOVAK (0091402)
 Godbey & Associates
 708 Walnut St., Suite 600
 Cincinnati, Ohio 45202

 s/ Brian P. Gillan per 4115119 email authorization

 BRIAN P. GILLAN (0030013)
 Freking Myers & Reul, LLC
 600 Fine St., 9th Floor
 Cincinnati, Ohio 45202

 Counsel for Plaintiffs

 WE SO STIPULATE and agree to abide by the terms of this Order

 s/ Reid T. Caryer

 REID T . CARYER (0079825)
 ELIZABETH HOWELL (0092605)
 Assistant Attorneys General
 Ohio Attorney General' s Office
 Education Section
 30 East Broad Street, 16th Floor
 Columbus, OH 43215

 Counsel for Defendants
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                                          Attachment A

                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 Ahmad Saqr, et al.,

                Plaintiffs,

        v.                                                   STIPULATED PROTECTIVE
                                                             ORDER
 University of Cincinnati, et al.,

                Defendants.

                    ACKNOWLEDGMENT OF UNDERSTANDING AND
                          AGREEMENT TO BE BOUND

         The undersigned hereby acknowledges that he/she has read the Protective Order
 dated                            in Ahmad Saqr, et al. v. University of Cincinnati, et al. , Civil
 Action No. 1:18-cv-542 (S.D. Ohio) and attached hereto, understands the terms thereof, and
 agrees to be bound by its terms. The undersigned submits to the jurisdiction of the United States
 District Court for the Southern District of Ohio in matters relating to the Protective Order and
 understands that the terms of the Protective Order obligate him/her to use documents designated
 CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER in accordance with the Order solely
 for the purposes of the above-captioned action, and not to disclose any such documents or
 information derived directly therefrom to any other person, firm or concern.
         The undersigned acknowledges that violation of the Protective Order may result in
 penalties for contempt of court.



                                              (Signature)


                                              (Print Name)


                                              (Job Title)


                                              (Home or Business Address)


                                              (Home or Business Address Continued)
